
May 10.
The PRESIDENT
delivered the opinion of the Court.
The proceedings on the first application of the appellant to qualify as the executor of Richard Cottom, his testator, ought to have put at rest the controversy now before the '“Court. The record of those proceedings was properly before the Circuit Court, upon the appeal from the second order of the Hustings Court, refusing to permit the appellant to qualify as executor as aforesaid. The Circuit Court had both appellate and original jurisdiction of the controversy; and the record of the proceedings on the first application to qualify, was properly presented to it as a bar to the application in the second instance. Until the judgment of a Court of competent jurisdiction, upon the same matter, is reversed in a course of regular proceedings on it, a resort to any other tribunal, or to the same tribunal, for its judgment on the same controversy, is inadmissible. Though the Hustings Court, on the first application by the appellant to qualify as executor, was divided, and only virtually refused his application, vet, an appeal lay to the Circuit Court from that refusal, and was prosecuted by the appellant here to a judgment against him; from which, he failed to appeal to this Court. The record of those proceedings is, therefore, not before this Court, for the purpose oi re-viewing the judgment against him in that case; although it was properly before the Circuit Court, in the proceedings now appealed from, as a bar to any further application to qualify as executor, no pleadings being required in such case; and *90of consequence, is also now before this Court for the same purpose.
Without noticing, therefore, the other points made in the argument, the judgment is to be affirmed.
